Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 1 of 19

‘ S 6789 to
S 7)
~V RECEIVED & FILED 7,
IN THE UNITED STATES DISTRICT COURT 3 CLERK'S OFFICE 4
FOR THE DISTRICT OF PUERTO RICO NOV -5 2019

z =
S STRICT COURT &
UNITED STATES OF AMERICA, 2 SAN caer
Plaintiff, o, “
CASE NO. 16-148 (JAG)? 87

Vv. 17-34-5 (DRD)

ALBERTO CABRERO-CABRERA,
Defendant.

 

 

 

PLEA AGREEMENT
(Pursuant to Rule 11(c)(1)(B) FRCP)

TO THE HONORABLE COURT:
COMES NOW the United States of America through its counsel W. Stephen Muldrow,
United States Attorney for the District of Puerto Rico; Myriam Y. Fernandez-Gonzalez, Assistant
United States Attorney, Chief, Criminal Division; Alberto Lépez-Rocafort, Assistant U.S.
Attorney, Deputy Chief, Gang Unit; Vanessa E. Bonhomme, Defendant’s counsel, Diego Alcala-
Wy Laboy, Esq.; and Defendant Alberto Cabrero-Cabrera, pursuant to Rule 11(c)(1)(B) of the Federal
Rules of Criminal Procedure, state to this Honorable Court, that they have reached an agreement,
\\ the terms and conditions of which are as follows:
1, COUNTS TO WHICH DEFENDANT PLEADS GUILTY

Criminal Case No.16-148 (JAG):

 

The Defendant agrees to plead guilty to COUNT FOUR of the Indictment:

COUNT FOUR: (Possession of a Firearm in Furtherance of a Drug Trafficking
Crime)

Count Four charges that on or about February 17, 2016, in the District of Puerto Rico and

within the jurisdiction of this Court, ALBERTO CABRERO-CABRERA, did knowingly possess

 
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 2 of 19

USA vy. Alberto Cabrere-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

a firearm, namely one .38 caliber Iver Johnson revolver bearing serial number H78084, loaded
with five (5) rounds of .38 caliber ammunition in furtherance of a drug trafficking crime for which
the defendant may be prosecuted in a court of the United States. All in violation of Title 18, United
States Code, §924(c)(1)(A)(i).

Criminal Case No. 17-34 (DRD):

The defendant agrees to plead guilty to COUNT ONE of the Indictment:

COUNT ONE: (Conspiracy to Possess with Intent to Distribute Controlled
Substances) -

Beginning on a date unknown, but no later than in or about June 2012, and continuing up
to and until in or about March 2016, in the Municipality of San Sebastian, District of Puerto Rico
and within the jurisdiction of this Court, defendant, [5] ALBERTO CABRERO-CABRERA and
other persons, did knowingly and intentionally, combine, conspire, and agree with each other and
with diverse other persons known and unknown to the Grand Jury, to commit an offense against
the United States, that is, to knowingly and intentionally possess with intent to distribute controlled
substances, to wit: in excess of one (1) kilogram of a mixture or substance containing a detectable
amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)
kilograms of a mixture or substance containing a detectable amount of cocaine, a Schedule II,
Narcotic Drug Controlled Substance; in excess of two hundred and eighty (280) grams of a mixture
or substance containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug
Controlled Substance; a mixture or substance containing a detectable amount of marijuana, a

Schedule I, Controlled Substance; within one thousand (1,000) feet of a real property comprising

2

 
Vy

KL

Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 3 of 19

USA vy. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

a housing facility owned by a public housing authority. All in violation of Title 21, United States
Code, Sections 841(a)(1), 846, and 860.

2. MAXIMUM PENALTIES
Criminal Case No.16-148 (JAG):

The penalty for the offense charged in Count Four of the Indictment is a term of
imprisonment of not less than five (5) years, but not more than life imprisonment; and a term of
supervised release of not more than three (3) years. The Court may also impose a fine not to exceed
$250,000.00, pursuant to Title 18, United States Code, Section 924(c)(1)(A)(i).

Criminal Case No. 17-34 (DRD):

The penalty for the offense charged in Count One of the Indictment is a term of
imprisonment which shall not be less than ten (10) years and up to two (2) terms of life, a fine not
to exceed twenty million dollars ($20,000,000.00) and a term of supervised release of not less than
ten (10) years in addition to any term of incarceration, pursuant to Title 21, United States Code,
Sections 841(b)(1)(A), 846, and 860.

However, for purposes of this plea agreement, the defendant is being held responsible for
the possession of at least four hundred (400) grams but less than five hundred (500) grams of
cocaine. Therefore, if the Court accepts this stipulation, the defendant faces a minimum term of
imprisonment of one (1) year up to a maximum term of imprisonment of not more than forty (4)
years, a fine not to exceed two million dollars ($2,000,000.00), and a term of supervised release
of not less than six (6) years in addition to any term of incarceration, pursuant to Title 21, United

States Code, Sections 841(b)(1)(C), 846, and 860.

3
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 4 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

a SPECIAL MONETARY ASSESSMENT

Prior to Defendant’s change of plea hearing, the Defendant shall pay a special monetary
assessment of one hundred dollars ($100.00) per count of conviction.

4, ADVISORY NATURE OF THE SENTENCING GUIDELINES

The defendant is aware that pursuant to the decisions issued on January 12, 2005, by the
Supreme Court of the United States in the case of United States v. Booker, 543 U.S. 220 (2005),
the Sentencing Guidelines are no longer mandatory and must be considered effectively advisory.

5, RULE 11(c)(1)(B) WARNINGS

The defendant is aware that the defendant's sentence is within the sound discretion of the
sentencing judge, but the same may be imposed following the United States Sentencing Guidelines,
Policy Statements, Application, and Background Notes as advisory to the imposition of sentence.
The defendant is aware that the Court has jurisdiction and authority to impose any sentence within
the statutory maximum set for the offense to which the defendant pleads guilty. If the Court
should impose a sentence up to the maximum established by statute, the defendant cannot, for that
reason alone, withdraw a guilty plea, and will remain bound to fulfill all of the obligations under
this plea agreement.

6. FINES AND RESTITUTION

The Court may, pursuant to Section 5E1.2(i) of the Sentencing Guidelines, Policy
Statements, Application, and Background Notes, order the defendant to pay a fine sufficient to
reimburse the government for the costs of any imprisonment and/or supervised release ordered.

Defendant further agrees to provide financial statements as requested by the United States.

4
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 5 of 19

USA y. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

hs SENTENCING GUIDELINES CALCULATIONS

Although the Guidelines are now advisory in nature, the sentencing court, in imposing
sentence, is required to consider the Guideline “sentencing range established for the applicable
category of the offense committed by the defendant.” United States v. Booker, 543 U.S. 220
(2005). The United States and Defendant agree to recommend the following Sentencing

Guidelines’ calculations:

Criminal Case No.16-148 (JAG):

 

— f SENTENCING GUIDELINE CALCULATION TABLE (COUNT FOUR)

 

\ Count Four of the Indictment, where the defendant pleads guilty for possessing a
firearm in furtherance of a drug trafficking crime, carries a mandatory minimum
term of imprisonment of five (5) years. U.S.S.G. §2K2.4(b) (60) months

\( L Title 18, United States Code, Section 924(c)

 

 

 

 

INTENTIONALLY BLANK
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 6 of 19

USA », Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

a. SENTENCE RECOMMENDATION

Criminal Case No.16-148 (JAG):

 

The parties agree that the defendant and the United States will request a sentence of sixty
(60) months of incarceration in criminal case number 16-148 (JAG). The defendant recognizes
that a conviction in Count Four in criminal case number 16-148 (JAG) carries a statutory minimum
sentence of sixty (60) months imprisonment. The defendant understands that this sentence will run
consecutive to whatever sentence is imposed in any other criminal matter.

Criminal Case No. 17-34 (DRD):

The parties further agree that the defendant and the United States will request a sentence
of forty-two (42) months of imprisonment as to Count One in criminal case number 17-34 (DRD),
regardless of the defendant’s criminal history category. The defendant shall not request a sentence
below forty-two (42) months of incarceration, regardless if the presentence report’s guideline
calculation reflects a lower total offense level. Any recommendation below forty-two (42) months
of imprisonment would be a substantial and material breach of the plea agreement.

The defendant further agrees that the sentencing recommendation for Count One in
criminal case number 17-34 (DRD) will be consecutive to the sentence imposed in Count Four in
criminal case number 16-148 (JAG) for a total sentence of one hundred two (102) months of
incarceration.

The parties further agree that Puerto Rico Commonwealth criminal case numbers

ASC2016 G0179, ASC2016 G0180, and ASC2016 G0181 are relevant conduct to case number
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 7 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

Criminal Case No. 16-591 (GAG):

 

 

 

 

 

 

SENTENCING GUIDELINES CALCULATION TABLE (COUNT ONE)
Title 21, United States Code, Sections 841(a)(1), 846, and 860
BASE OFFENSE LEVEL [U.S.S.G. §2D1.1(c)(9] ae
(Possession of at least 400 grams but less than 500 grams of cocaine)
PROTECTED LOCATION [U.S.S.G. §2D1.2(a)(1)] 9
(Distribution within 1,000 of PHP/School Zone)
Acceptance of Responsibility [§ 3E1.1] -3
TOTAL OFFENSE LEVEL 21
IMPRISONMENT RANGE IF CRIMINAL HISTORY CATEGORY I 37-46
: IF CRIMINAL HISTORY CATEGORY II 41-51
| v IF CRIMINAL HISTORY CATEGORY III 46-57
\ “ IF CRIMINAL HISTORY CATEGORY IV 57-71
IF CRIMINAL HISTORY CATEGORY V 70-87
‘ IF CRIMINAL HISTORY CATEGORY VI 77-96
ts months
Li ZONE D

 

 

 

 

8. CRIMINAL HISTORY CATEGORY

The parties make NO stipulation as to defendant's criminal history. However, the
parties stipulate that the defendant’s conviction in criminal case numbers ASC2016 G0179,
ASC2016 GO180, and ASC2016 GO181 are part of the relevant conduct in criminal case number

17-34 (DRD).

 
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 8 of 19

USA y, Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

17-34 (DRD), the sentence of imprisonment shall be imposed pursuant to U.S.S.G. §5G1.3(b)(1)
and §5K2.23. The defendant would agree that this sentence recommendation is reasonable
pursuant to Title 18, United States Code, §3553(a).

10. WATVER OF APPEAL

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed
by the Court is forty-six (46) months or less for Count One in criminal case number 17-34 (DRD)
and a consecutive imprisonment sentence of sixty (60) months for Count Four in criminal case
number 16-148 (JAG), the defendant waives the right to appeal any aspect of this case’s judgment
and sentence, including but not limited to the term of imprisonment or probation, restitution, fines,
forfeiture, and the term and conditions of supervised release.

11, NO FURTHER ADJUSTMENTS OR DEPARTURES

The United States and the defendant agree that no departures shall be requested by the
parties. This Plea Agreement has taken into consideration all Title 18, United States Code, Section
3553 factors. Any recommendation for a term of imprisonment below what has been stipulated
in paragraph (9) above will constitute a material breach of the plea agreement.

12. JURISDICTIONAL LIMITS OF PLEA AGREEMENT

It is specifically understood by the defendant, that this plea agreement does not extend to
or bind other federal districts, federal civil and/or tax authorities, and/or State or Commonwealth
of Puerto Rico tax authorities, civil and/or State or Commonwealth of Puerto Rico law enforcement

authorities.
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 9 of 19

USA y. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

13. SATISFACTION WITH COUNSEL

The defendant, represents to the Court that defendant is satisfied with defendant's attorney,
Diego Alcala-Laboy, Esquire, and hereby indicates that counsel has rendered effective legal
assistance.

14, RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

Defendant understands that by entering into this agreement, Defendant surrenders certain
rights as provided in this agreement. Defendant understands that the rights of criminal defendants
include the following:

a. If the Defendant had persisted in a plea of not guilty to the charges, Defendant
would have had the right to a speedy jury trial with the assistance of counsel. The trial may be
conducted by a judge sitting without a jury if the Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. ‘The Defendant and the Defendant's attorney would assist in selecting the
jurors by removing prospective jurors for cause where actual bias or other disqualification is
shown, or by removing prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a verdict of either guilty or not
guilty. The jury would be instructed that the Defendant is presumed innocent that it could not
convict the Defendant unless, after hearing all the evidence, it was persuaded of the Defendant's
guilt beyond a reasonable doubt, and that it was to consider each charge separately.

€: If a trial is held by the judge without a jury, the judge would find the facts and, after

hearing all the evidence and considering each count separately, determine whether or not the
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 10 of 19

USA y, Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

evidence established the Defendant's guilt beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses and other
evidence against the Defendant. The Defendant would be able to confront those witnesses and
Defendant's attorney would be able to cross-examine them. In turn, the Defendant could present
witnesses and other evidence on Defendant's own behalf. If the witnesses for the Defendant
would not appear voluntarily, Defendant could require their attendance through the subpoena
power of the Court.

ci At a trial, the Defendant could rely on the privilege against self-incrimination to
decline to testify, and no inference of guilty could be drawn from the Defendant's refusal to testify.
If the Defendant desired to do so, the Defendant could testify on the Defendant's own behalf.

15. DISMISSAL OF REMAINING COUNTS:

At sentencing, the United States shall request the dismissal of the remaining counts of the
Indictment in both criminal case numbers 16-148 (JAG) and 17-34 (DRD).

16. STIPULATED VERSION OF FACTS

The accompanying Stipulated Version of Facts signed by the defendant is hereby
incorporated into this plea agreement. Defendant adopts the Version of Facts and agrees that the
facts therein are accurate in every respect and that, had the matter proceeded to trial, the United
States would have proven those facts beyond a reasonable doubt. Further, the defendant agrees
that said statement of facts can be used by the sentencing judge in determining the application of

any sentencing guidelines in the instant case.

10
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 11 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

17. LIMITATIONS OF PLEA AGREEMENT

This plea agreement binds only the United States Attorney’s Office for the District of
Puerto Rico and the Defendant; it does not bind any other federal district, state or local authorities.

18. ENTIRETY OF PLEA AGREEMENT

The United States and the defendant acknowledge that the above-stated terms and
conditions constitute the entire plea agreement between the parties and deny the existence of any
other terms and conditions not stated herein. No additional promises, terms or conditions will be
entered unless in writing and signed by all parties.

19. AMENDMENTS TO PLEA AGREEMENT

No other promises, terms, conditions will be entered unless in writing, signed by all parties.

20. WOLUNTARINESS OF GUILTY PLEA

It is understood by the defendant, that defendant is entering into this plea agreement without
compulsion, threats, or any other promises from the United States Attorney or any of his agents,
The defendant acknowledges that no threats have been made against the defendant and that the
defendant is pleading guilty freely and voluntarily because the defendant is, in fact, guilty.

21. POTENTIAL IMPACT ON IMMIGRATION STATUS

The Defendant hereby agrees and recognizes that, if the Defendant is not a United States
Citizen, his plea of guilty in this case may have an impact in his immigration status. Among others,
the Defendant is subject to removal from the United States; the defendant may be barred,
temporarily or permanently, from reentering the United States; a criminal conviction may affect the

Defendant’s ability to apply for United States citizenship, and other benefits. Further, the

11
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 12 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

Defendant agrees and recognizes that any term of supervised release imposed by the Court may be
suspended, as long as he remains outside the United States. However, should Defendant, at any
time, reenter the United States he must immediately report to a U. S. Probation Office and otherwise
comply with any conditions of supervised release that may be imposed herein.

22. FORFEITURE AGREEMENT

Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United States any
drug proceeds or substitute assets for that amount, which constitutes or is derived from proceeds
generated or traceable to the drug trafficking offense in violation of Title 21, United States Code,
Sections 841(a)(1), 846, and 860. Further, the defendant shall forfeit to the United States any
property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of said
violations and any property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of the said violations up to the amount stated above, including $2,169.14
in U.S. Currency. The defendant agrees to identify all assets over which the defendant exercises
or exercised control, directly or indirectly, within the last six (6) years, or in which the defendant
has or had during that time any financial interest. The defendant agrees to take all steps as requested
by the United States to obtain from any other parties by any lawful means any records of assets
owned at any time by the defendant. Defendant agrees to forfeit to the United States all of the
defendant’s interests in any asset of value of more than $1,000.00, within the last six (6) years,
that the defendant owned, or in which the defendant maintained an interest, the ownership of which

the defendant fails to disclose to the United States in accordance with this agreement.

The defendant further agrees to waive all interest in any such asset in any administrative

12
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 13 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

or judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees
to consent to the entry of orders of forfeiture for such property and waives the requirements of the
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant acknowledges that he understands that the forfeiture of assets
is part of the sentence that may be imposed in this case and waives any failure by the court to

advise him of this, pursuant to Rule 11(b)(1)(J), at the time his guilty plea is accepted.

The defendant further agrees to waive all statutory challenges in any manner (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment. The defendant agrees to take all steps as requested by the United States to pass clear
title to forfeitable assets to the United States and to testify truthfully in any judicial forfeiture
proceeding. Defendant acknowledges that all property covered by this agreement is subject to
forfeiture as proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for
property otherwise subject to forfeiture.

Defendant by agreeing to the forfeiture stated above acknowledges that such forfeiture is
not grossly disproportional to the gravity of the offense conduct to which defendant is pleading
guilty.

Defendant agrees that the forfeiture provisions of this plea agreement are intended to, and

will survive him, notwithstanding the abatement of any underlying criminal conviction after the

execution of this agreement. The forfeitability of any particular property pursuant to this agreement
13
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 14 of 19 |

USA ¥, Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

shall be determined as if Defendant had survived, and that determination shall be binding upon
Defendant’s heirs, successors, and assigns until the agreed forfeiture, including any agreed
money judgment amount, is collected in full.

23. FIREARMS FORFEITURE

Pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,
Section 2461(c), Defendant agrees to forfeit all of his right, title, and interest in the following
property (hereafter, collectively, the “Property”): .38 caliber Iver Johnson revolver bearing serial
number H78084, loaded with five (5) rounds of .38 caliber ammunition.

W. STEPHEN MULDROW
United States Attorney

bf

eS ee Li,

Z AS

é be A y
ounsel yd ant
Dated: /”, oO / 4

 

   

 

 

 

 

Alberto R. L6pez-Rocafort Alberto Cabrero-Cabrera
Assistant United States Attorney Defendant
Deputy Chief, Gang Unit Dated:

Dated: /0/2e- /400¢,

(VEVAD

Vanessa E. Bonhomme
Assistant United States Attorney
Dated: ha]2s| 2014

14

 
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 15 of 19

USA v. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,
Application, and Background Notes which may apply in my case. I have read this Plea
Agreement and carefully reviewed every part of it with your attorney. My counsel has translated
the plea agreement it to me in the Spanish language and I have no doubts as to the contents of the
agreement. I fully understand this agreement and | voluntarily come to it.

Date: LU A=

Alberto Cabrero-Cabrera
Defendant

I am the attorney for the Defendant. | have fully explained to the Defendant his rights
with respect to the pending Superseding Indictment. Further, I have reviewed the provisions of
the Sentencing Guidelines, Policy Statements, Application, and Background Notes, and I have
fully explained to the Defendant the provisions of those guidelines which may apply in this case.
I have carefully reviewed every part this Plea Agreement with the Defendant. I have translated
the plea agreement and explained it in the Spanish language to the defendant who has expressed
having no doubts as to the contents of the agreement. To my knowledge, the Defendant is entering
into this agreement voluntarily, intelligently and with full knowledge of all consequences of

f

Defendant’s om of guilty. . f //

{
}

 

 

; ff rif ff Ai ;
Date: i! fe /s [ Lt < f - aa ¥ F-

pe go Alcala-Laboy/ ‘Fs,

Counsel for Defendant

i)
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 16 of 19

USA vy. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

GOVERNMENT’S VERSION OF THE FACTS

 

In conjunction with the submission of the accompanying plea agreement in this case, The
United States submits the following statement setting forth the United States version of the facts
leading to the defendant’s acceptance of criminal responsibility for defendant’s violations in
criminal case number 16-148 (JAG) of Count Four — Possession of a Firearm in Furtherance of a
Drug Trafficking Crime, in violation of Title 18, United States Code, Section 924(c) and in
criminal case number 17-34 (DRD) of Count One — Conspiracy to Possess with Intent to Distribute
Controlled Substances, in violation of Title 21, United States Code, Sections 841, 846, and 860.
The following is a summary of the facts the United States would have proven beyond reasonable
doubt if this matter would have gone to trial:

Criminal Case No.16-148 (JAG):

On February 17, 2016 Puerto Rico Police Strike Force Agents of Aguadilla, PR received
information that Alberto CABRERO-CABRERA was seen driving a grey colored Hyundai
Accent bearing Puerto Rico license plate number HVS010 in the municipality of Moca, Puerto
Rico, CABRERO-CABRERA had an outstanding arrest warrant for violation of Puerto Rico’s
Narcotics Law, Article 401, Possession with Intent to Distribute Controlled Substances.
Eventually, Strike Force agents observed the defendant driving the same Hyundai Accent
previously described. As the Hyundai Accent was stopped in traffic, Strike Force Agents
approached the vehicle and ordered the defendant out of the vehicle. The defendant exited the
vehicle and agents observed the back strap and trigger of a revolver peeking out from under the

driver’s seat in plain view. Strike Force Agents removed a .38 caliber, Iver Johnson revolver
16
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 17 of 19

USA y, Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)

Plea Agreement
bearing serial number H78084 loaded with five (5) rounds of .38 caliber ammunition from the
vehicle for officer safety reasons. The defendant was subsequently placed under arrest.

Strike Force Agents also observed in plain view between the driver and passenger seats a
white plastic bag containing controlled substances. The bag contained two-hundred thirteen (213)
orange plastic baggies each closed with a staple containing crack cocaine, seventy-five (75) decks
of pink aluminum foil containing heroin, and fifty (50) orange plastic baggies containing cocaine,
as confirmed by the DEA Laboratory.

As part of this Plea Agreement the defendant, Alberto Cabrero-Cabrera, accepts that on
February 17, 2016, he possessed a .38 caliber, Iver Johnson revolver bearing serial number H78084
loaded with five (5) rounds of .38 caliber ammunition, in furtherance of a drug trafficking crime,
as charged in Counts One to Three of the Indictment in case number 16-148 (JAG).

The United States would have proven this case beyond a reasonable doubt through physical
and documentary evidence, including, but not limited to, the testimony of PRPD and FBI Agents,
photographs, documents, the firearm, controlled substances seized, and other physical evidence.

Discovery was timely made available to Defendant for review.

Criminal Case No. 17-34 (DRD):

Beginning on a date unknown, but no later than in or about June 2012, and continuing up
to and until in or about March 2016, in the Municipality of San Sebastian, District of Puerto Rico
and within the jurisdiction of this Court, defendant, [5] ALBERTO CABRERO-CABRERA and
other persons, did knowingly and intentionally, combine, conspire, and agree with each other and

with diverse other persons known and unknown to the Grand Jury, to commit an offense against

17
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 18 of 19

USA y, Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

the United States, that is, to knowingly and intentionally possess with intent to distribute controlled
substances, to wit: in excess of one (1) kilogram of a mixture or substance containing a detectable
amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)
kilograms of a mixture or substance containing a detectable amount of cocaine, a Schedule II,
Narcotic Drug Controlled Substance; in excess of two hundred and eighty (280) grams of a mixture
or substance containing a detectable amount of cocaine base (crack), a Schedule II Narcotic Drug
Controlled Substance; a mixture or substance containing a detectable amount of marijuana, a
Schedule I, Controlled Substance; within one thousand (1,000) feet of a real property comprising
a housing facility owned by a public housing authority. All in violation of Title 21, United States
Code, Sections 841(a)(1), 846, and 860.

The United States would have also proven that beginning on a date unknown, but no later
than in or about June 2012, and continuing up to and until in or about March 2016, in the
Municipality of San Sebastian, District of Puerto Rico and within the jurisdiction of this Court,
defendant [5] ALBERTO CABRERO-CABRERA, and the defendants herein, aiding and
abetting each other, did knowingly possess firearms, of unknown make and caliber, as that term is
defined in Title 18, United States Code, Section 921(a)(3), in furtherance of a drug trafficking

crime for which they may be prosecuted in a court of the United States, as charged in Count One

of the instant Indictment. AlLin-vielatten-efHtle-8,-United=StatesCode; Section 924fe} HA) a)
}

Nake {
anc? pL ° \ \\ Le
Specifically, [5] ALBERTO CABRERO-CABRERA acted as an armed seller and runner

for the drug trafficking organization operating out of the San Andres Public Housing Project in

18
Case 3:16-cr-00148-DRD Document 70 Filed 11/05/19 Page 19 of 19

USA vy. Alberto Cabrero-Cabrera, Criminal No.16-148 (JAG) and 17-34-5 (DRD)
Plea Agreement

San Sebastian, Puerto Rico. Several kilograms of cocaine, cocaine base (crack), heroin, and a
detectable amount of marijuana, however for purposes of his plea agreement, the defendant is held
responsible for the possession with intent to distribute, and the distribution of, at least four hundred
(400) grams but less than five hundred (500) grams of cocaine. This all occurred within 1,000 feet
of a housing facility owned by a public housing authority.

The United States would have proven these facts beyond a reasonable doubt through
physical, testimonial and documentary evidence such as, but not limited to, video recordings,
photographs, and the testimony of agents from the Police of Puerto Rico, FBI, and cooperating
witnesses, in addition to experts from the DEA Laboratory, Puerto Rico’s Forensic Sciences
Institute, among others.

All discovery was timely provided to defendant.

 

 

 

7
/ i A
JV\AY AGS’
Vanessa E. Bonhomme Diego Alcala-Laboy, Esq.
Assistant United States Attorney Counsel for Defendant,
Dated: \o| 1s | 2014 “ Dated: ; SON fo PH VA
j J
Albérto-Cabrero-Cabrera
Defendant

Dated:

19

 

 
